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                                                  MEMO ENDORSED




The foregoing adjournment request is granted. The conference is hereby adjourned to November 30,
2021, at 12:00 p.m. The Court finds pursuant to 18 USC section 3161(h)(7)(A) that the ends of justice
served by an exclusion of the time from today's date through November 30, 2021, outweigh the best
interests of the public and the defendant in a speedy trial for the reasons stated above. Dkt. Entry no. 859
resolved.
SO ORDERED.
9/30/2021
/s/ Laura Taylor Swain, Chief USDJ
